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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                       )
                                               )
         v.                                    )       CRIMINAL NO. 22-CR-0000023 (TFH)
                                               )
                                               )
CHRISTOPHER LOGSDON                            )

                                       NOTICE OF FILING

         The Defendant, CHRISOPHER LOGSDON, by his counsel, Kira Anne West, hereby files

this notice of filing of exhibits, two letters to the Court for sentencing.


                                               Respectfully submitted,

                                               KIRA ANNE WEST

                                       By:              /s/
                                               Kira Anne West
                                               DC Bar No. 993523
                                               712 H Street N.E., Unit 509
                                               Washington, D.C. 20002
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                                               kiraannewest@gmail.com


                                   CERTIFICATE OF SERVICE

         I hereby certify on the 25th day of October, 2022 a copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                            /S/
                                                       Kira Anne West
